Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 1 of 48 Page ID #:240




                        EXHIBIT 1




                                                Pet. Opening Brief Exhibits - P. 17
                       Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 2 of 48 Page ID #:241

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                                                                       Pet. Opening Brief Exhibits - P. 18
        Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 3 of 48 Page ID #:242
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                                                        k ;t 4t- 1* -fJl IR l!1                           fit   1f      lb JJfl ¾ ;ff                f~ /~ i3J
                                                      TJFTZ INTERNATfONAL TRADE SERVICE CO.,LTD.
                                                                                                                                                                                                 j£               ,f.
               r1\x: 022-sx21 s:;29                                           ~     jt1}- ~           SAL:-ES CONTRACT
                                                                                                                                                                                                (ORIGINAL)
               TFL: 022-582183 18

                                   TIANCHENG INTERNATIONAL INC.U.$.A.                                                                      ~:1'0~½: 14TBTC-E-0013
                                   2851 E.PHILADELPHIA ST.                                                                                 Contract No. 14TBTC-E-0013
                                   ONTARIO, CA 91761
             Buyers:                                                                                                                        BAA: 2014;3;5
             $; },-:               ki.!tii,lc1.'fc-f.it!Rl1Jf,Frii!' $;!l~-*lffff!:J~;;J                                                    Date:. MAR 05, 2014
             Sellers: TJFTZ INTERNATIONAL TRADE SERVICE CO.,LTD.                                                                           $-i'}.hJ,,: ;l;;.i:f:
             Address: No.38 Yuanhang Road , l1anjin Binhai New Area                                                                       Place: TIANJIN, CHINA
                       Comprehensive Bonded Area, 300308, China

                            ~~~~*T~l~•~*~*~*•iliT~-~:
             _The Buyers agree to buy and the Sellers agree to sell the following goods on terms and conditions as set forth below·
                    ( 1)                 i~h
                                    t ;f;i~hi.JJIJ~t§., ~{t.&.{ti.E*:t-c     2) .49:. y               (3) if- 11r              (4),it,-ffi•
              Nam e of Commodity and Specifications, packing                  Quantity                 Unit price            Total Amount
              and Shi)?pir1Jl Marks

               CR EATfNE MONOHYDRATE                                     S0MESH                            8000kgs                                  $6                                 $48000
                                           -·
              CR EATINE MONOHYDRATE                                     200MESH                             500kgs                                  $6                                  $3000
                  .....


                                          BETAfNE HCL                                                                                               $72                              $216000
                                                                                                           3000kQS
                                                                                                                                                                    I
                                      BETAINE NITRATE                                                                                               $70                              $280000
                                                                                                           4000kas
                                                                                                                                                                                FOB TIANJIN

                                                                                                                                           TOTAL                                       $547000
                             ...
                                                                                                                         < j}t_it.4'f..it JGi-Hf  %t¥/:lif~)
                            ..
                                                                                                                ( Shipping quantity           %more or less allowed)

             (5) % ,t .fln :'IL                        2014/3/10
               . Time of§hiprnent:                    MAR.10.2014
             17) Fl iJ!J ·o i't:
                  Port of Destination: LONG BEACH,USA
             (tJtt ;,t: u H
                  Ports of Loading: XINGANG;TIAN,JIN,CHINA
              {8) 1,, :<:;; Jst i:f.. ;\t:-, dJ ~i/ ;:i, #: .£. ,1,--:.Ti:' iN 1 10'1/oiJH\<
                  Insurance: Risks for 110% of invoice value.
             (g)+},KftH+
                  Terms of Payment: TfT 90 DAYS
                . A.~ll -1~••:;"~i\L'/f{1;/f] i,-S,1tJBiiEtlli'il~f !lill%iet-½ UCP500 tl1 lili..4hd::3t;,t,itft}f]i,1.)yt-t _ _ _ El ,ftll!.#-~ ,*'lt-t ____ El ,(f.
                      t l:tl3'1.JvJ, ?.C lll•J,   w*~f    #AEki~f ¼iiil &t,t!zi)       Ji:t.utA~il!lJ;.
                                                                                             ,1', Y~ .~ .Jk :I:: M.   ·.t
                   A. By an irrevocable letter of credit issued in accordance with ICC UCP N0.500.The covering L\C must teach the Seller
                      and Is to remain valid until _ _ _ _ in China ,failing which the Sellers shall reserve the right to cancel this Contract and to
                .     claim from the Buyer for the losses resulting there from.
                  R.-J~-'{1,ttJ:.i A.:

                   B. By other means: BANK INFORMATION:
                  .BANK NAME:CHINA MERCHANTS BANK
                   TIANJIN TEDA SUBBRANCH
                   SWIFT CODE:CMBCCNBS391
                   USO A/C:122904 1987 32901
                                                                                                                                                                    I'                                ;q~ /~'.:;
             (IOJ'if'Y1Nrf'•Jfi-,t,/:.;'/.J,,f.~,'-;01::f-•f1H1J-il11;,}
                  A!! the terms and conditions overleaf form an integral part of this sales contract.
                                                                                                                                            i ,1, ,Jc    i\:, <'i        r:•1
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                                                                                                                                           TPFTZ,iNTEF{NATh)NPl 'f Ri\f~{ SE:RV!CE CO. LTD.
                                                                                                                                                                                                      1
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                                                                                                                                                                                                              J


              X    -;,.-:        TIANCHENG INTERNATIONAL INC.U.S.A.                                             $     *:    J~_;tiltc-1%iil!K I!) JIF'i,f #/,Aft1}-;ff F/ll.<~~

             The Buyers                            lU,VV""AP L· ✓-
                                                  \."         ..     1..../   ·        •
                                                                                                                    The Sellers .................... .



                                                                                                                            Pet. Opening Brief Exhibits - P. 19
       Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 4 of 48 Page ID #:243




                                       "'Jfsl   o %.z. El :i% 30 .k rJ;J iltl:l ,4fti:;lf--i-x.3Ji-t'5'A' Jtl JeJ av o Jf.z. El :i% 1 s ~rJ;J .ffe.tl:l .1.!e.f03Yi
                        ~ %1 ~W;;---iiLHa<J#c-!l~-i-;E.11Jl. :/t,,.:l-1::£-,,l,-t ~ ~¼ ~~ -t ,JHtl ;lf--ix. 20 ~ Ji;J ;g:.j_ ~ ~ *il tB 5():_J!f ~Ji!.,.                                .>
      QUALITY/QUANTITY DISCREPANCY: In case of quality discrepancy, claim should be filed by the Buyers Within 30 days Aft;c
      arrival of the goods at port of destination, while for quantity discrepancy claim should be filed by the Buyers within 15 Days after'
      arrival of the goods at port of destination. In all cases, claims must be accompanied by Survey Reports of Recognized Pctq
      surveyors agreed to by the Sellers. Should the responsibility of the subject under claim be found to rest on the part of the Selle;t
      the sellers shall, within 20 days after receipt of the claim, send his reply to the Buyer together with suggestion for Settlement.
                                                                                **i
(2) 1t JlJ iiE. rJ;J El ll}J ..MJ!..;.t ~ ~:t ;/x.."1' J it.sx.j,· it_av 1f 71'~,             I\Fit.:iii#i::i-i-x..+t. C1t m iiE..:t.±$ffi-EZK4'--~ '5'A'½rv 1iv±$Ji:l-\!l',;l,o;/ii;Jz
      7,""il'L )
   The sellers reserve the option of shipping the indicated percentage more or less than the quantity hereby contracted, and the
   Covering letter of Credit shall be negotiated for the amount covering the value of quantity actually shipped.(The Buyers are
   Requested to establish the UC in accord with the indicated percentage over the total value of the order as per this Sales Contract.)
                                                                                         t
(3)1t J¥liiE.Jl;J '.t-3Yi?' it-.ff¾-4'-~ '5'A'¾f'J avfJil..;.t, .:f, YlU1~?k1t ftliiE./i'J Jtl d:i r-::t fti :i!:!.#.;;t'.7)'1::: ffi. [11ftk1tf)iH'iJbJUt.:iiiliv"t11:-, -jf-
      *W [I ft~£~~-~ffi~~ ~-~-
      The contents of the covering Letter of Credit shall be in strict accordance with the stipulations of the sales Contract:: in case of
      Any variation there of necessitating amendment of the UC, the Buyers shall bear the expenses for effecting the amendment. The
      Sellers shall not be held responsible for possible delay of shipment resulting from awaiting the amendment of UC, and reserve
      The right to claim from the Buyers compensation for the losses resulting therefrom.
(4)   i'tfl.f'J :t.1%/1&-y33< ~$.1%.¼PI-, cl:i :!Js ;t$.1%. :/(03<;t~yf;l,ilf;/Jo1%.11&-1l.,x,Jyj;/Jo1%$--/1.tll&-"T-t1t.Aif1ltiltili, t;_;!z~ Jal ~ro1\J;$.1%.,
      $,-f .rn di~~ 1n :j:§.,
      Except in cases where the insurance is covered by the Buyers as arranged, insurance is to be covered by the Sellers. If insurance
      For additional amount and/or for other insurance terms is required by the Buyers, prior notice to this effect must reach the Sellers
      before shipment and is subject to the Sellers' agreement, and the extra insurance premium shall be for the Buyers' account
(5) Wf J'o*&-~ic:/".11k.-iiE.fJJJ 4¼A cl:i 'F OO ______ r)j-~£.a¾J'o}1f iJl.ty /i:i:~~iiE.,J;1'1cJ'o)1f 4'ty /i:yav
        Ji:.i!ti&.:tlk.
         INSPECTION: The Certificate of Origin and / or the Inspection Certificate of Quality/Quantity/Weigh issued by _ _ _ __
         _ _ _ _ _ _ _ _ _ _ Shall be taken as the basis for the shipping quantity/quantity/weight.
(6) lliJ,,z__lJ T-"f:tilAe.1ftL 1:1:.~~ T- nt_.tf.-4'-~'5'A'i;--f9;iiJil..;.t$.JJf~P'l Ji:. '5'A' AT-nt::ZiJt, ~~ T-fti -t, 1E-Jlt ~?L-;gj..i.ip
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        -;iE.aJJ :f M:. av4,t£.. ::t T- nt4Utl:it!: o iiE.T- nt:/t.iJ.JJ "$. ,,i,A.:h T-"f:titie. fl i:ro.
       The Sellers shall not be held responsible if they owing to Force Majeure causes fail to make delivery within the time Stipulated in
       this Sales Contract or cannot deliver the goods. However the Sellers shall inform immediately the Buyers by fax. The Sells shall
       deliver to the Buyers by registered letter, if it is requested by the Buyers, a certificate issued by the China Council for The
       Promotion of International Trade or by any competent authority, certifying to the existence of the said cause or causes. Buyer'
       failure to obtain the relative Import Licence is not to be treated as Force Majeure.
C7    l 1t~: -+JJlli!i:it.:ft .4'-1i-Jal f}j- £.1..A1€i -4'-½Fl;t *.:t.-tj,-4:/1., xx..::t EZ~~iw-FlJUl/-iJt. :iio-Jw-Wi T-litM-,Jcflt, fe.tltll 'l' l!l l!l l't-t;_iff-'bf !&1t~
         4-ffi ¾,         *-~il.
                            'f'-rn-1t~Stii1t~4--ffi ¾JY,)At:ttHHl'~fU1J:izt-i'HI'~, 1t~.11k.A,tf. 'F 00 Ai:f, 1t~4-ffi. ¾av~;JtJ;0,-$J~;}t, xt.xx.
         ;t:l-0:1f f'J ~;I;, 1t~ f fll i½s-.eJHr~4-ffi. ¾ J5 :tM-,MI-, JSJ ai Plb/f::t ffi. :i£.
       ARBITRATION: All disputes in connection with this contract or the execution thereof shall be amicably settled through negotiation ..
       In case no settlement can be reached between the two parties, the two parties, the case under dispute shall be submitted to Ch.inc)
       international Economic and Arbitration Commission for arbitration in accordance with the commission's arbitration Rules in effect
       at the time of applying for arbitration shall take place in Tianjin. Th~ decision made by the Arbitration Commission shall be accept~cl
       as final and binding upon both parties. The fee for arbitration shall be borne by the losing party unless otherwise awarded.
( 8 l V1HU:
       -4'-½Jal #s ~1':4-ts::t 4-,JS]f-;.tirl'..~ '5'A'¾Jal, :!lo [14"J.s::t-t1£i!Airi'..¾Jal T-/ii!.Ai..HAT-liUi'-JW3t '5'A' A iJt Jtlffi;,tJJil.,Jtf y/il't-J:fol,'/!~i;--Jisl
       JJii..,tT-%1', 3< ::t fZ At~lil4-J.s~ ii*fn!f.;}t, Jtirt., #s::t T-,M!:!.1Hrif11:-.
       Remarks:
       The Seller of this contract is entrusted to sign this contract. In case the contract can not be executed or the shipment can not be
       made on time or the quality/ quantity of the arrived goods be found not in conformity wit~ those ltipulated in the contract owing to
       the Entrusting Party's faults, the Buyer shall contact the Entrusting Party for settlement directly and the Seller will not bear any
       responsibility.




                                                                                                                         Pet. Opening Brief Exhibits - P. 20
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 5 of 48 Page ID #:244




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 6 of 48 Page ID #:245




                           NOTARIAL CERTIFICATE



                                                 (2017) JinXiQingGongJingZi No.29


      Applicant: TPFTZ INTERNATIONAL TRADE SERVICE Co., Ltd., domicile:
 No.38, Yuanhang Road, Comprehensive Bonded Area, Tianjin Airport Economic
 Area, Tianjin.
      Legal representative: Jiang Lei, female, born on April 18, 1975, ID Card No.:
 12010719750418304X.
      Agent: Yuan Haochen, male, born on July 5, 1992, ID Card No.:
 120103199207056419.
      Issue under notarization: Duplicated Copy in Conformity with the Original
 Copy
      This is to certify that the above-mentioned duplicated copy is in conformity
 with the original copy of document which Yuan Haochen showed to the Notary.




                                       Notary: Shen Yi
                                       XiQing Notary Public Office of
                                       Tianjin
                                       The People's Republic of China
                                       May 10, 2017




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                                                          Pet. Opening Brief Exhibits - P. 22
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 7 of 48 Page ID #:246




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                                                            Pet. Opening Brief Exhibits - P. 23
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 8 of 48 Page ID #:247




                             NOTARIAL CERTIFICATE

                                    (Translation)


                                               (20 l 7)JinXiQingGongJingZi No.30


      Applicant: TPFTZ INTERNATIONAL TRADE SERVICE Co., Ltd.,
 domicile: No.38, Yuanhang Road, Comprehensive Bonded Are~, Tianjin Airport
 Economic Area, Tianjin ..
      Legal representative: Jiang Lei, female, born on April 18, 1975, ID Card No.:
  12010719750418304X.
      Agent: Yuan Haochen, male, born on July 5, 1992, ID Card No.:
  120103199207056419.
      Issue under notarization:Translated Contents in Conformity with Those of
  Original Copy
      This is to certify that the contents of the aforementioned translated English
 text of "Notarial Certificate" No.: (2017)JinXiQingGongJingZi No.29 are m
  conformity with those of the Chinese original copy.




                                        Notary: Shen Yi
                                        XiQing Notary Public Office of
                                        Tianjin
                                        The People's Republic of China

l V004 75020                            May 10, 2017



                                                        Pet. Opening Brief Exhibits - P. 24
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 9 of 48 Page ID #:248




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               People's Republic of China)
               Municipality of Beijing          )
                                                       ss:
               Embassy of the United            )
               States of America                )     .       n
                                  John RY 8 . \
                                 '1lce consU
               I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , ConsulNice Consul of the United
                States of America in Beijing, the People's Republic· of China, duly commissioned and qualified,
               do hereby certify that - ~ . : ; . . . 1 [ . / C ~ ( . . . _ ~ ~ ~ U l J ~ - ' whose true signature and official
                                                                                     the foregoing document, was on the
                                      .                             , 2 0 1 ~ , an officer of the
               Ministry of Foreign Affairs of the People's Republic of China, duly commissioned
                and qua:lified, to whose official acts faith and credit are due.


               IN WITNESS WHEREOF I have hereunto set my hand and affixed the seal of the
               Embassy of the United States of America in Beijing, the People's Republic of China this
                    t9gffe.. . day of~---c..=~-;.....=-_, 201 ~ -
                     \-   \




                                                                                          (John Ryan
                                                                                         "'i\~~, CC ltSJI




                                                                              Pet. Opening Brief Exhibits - P. 25
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 10 of 48 Page ID #:249




                         EXHIBIT 2




                                                 Pet. Opening Brief Exhibits - P. 26
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 11 of 48 Page ID #:250




                    TPFTZ INTERNATIONAL TRADE SERVICE CO.,LTD.
         From:TPFTZ INTERNATIONAL TRADE SERVICE                         INVOICE
         CO.,LTD.
         BANK INFORMATION:                                           NO.: TBTC-E-0013
         BANK NAME:CHINA MERCHANTS BANK
         TIANJIN TEDA SUBBRANCH
         SWIFT CODE:CMBCCNBS391
         USD A/C:122904 1987 32901
                                                                   HS: 1210610002
                                                                   Date: 2014/3/5

         Bill To:                                    Ship To:
         TIANCHENG INTERNATIONAL INC.U.S.A.          TIANCHENG INTERNATIONAL INC.U.S.A.
         2851 E.PHILADELPHIA ST.                     2851 E.PHILADELPHIA ST.
         ONTARIO, CA 91761                           ONTARIO, CA 91761



         ITEM                                                           UNIT
          NO.
                         Description        Q’TY
                                                                       PRICE
                                                                                TOTAL AMOUNT

                                                                          $6        $48000
                                                   320 CARTONS
                CREATINE MONOHYDRATE                 =8000KGS
           1
                80MESH
                                                                         $6          $3000
                                                   20 CARTONS
                CREATINE MONOHYDRATE                 =500KGS
           2
                200MESH

                                                                        $72         $216000
           3                                       120 CARTONS
                BETAINE HCL                          =3000KGS


           4
                BETAINE NITRATE
                                                    160 DRUMS           $70         $280000
                                                     =4000KGS




                COUNTRY OF MANUFACTUREER:   CHINA


                                                                       TOTAL     USD 547000
                                                                        FOB    TIANJIN




                                                                 Pet. Opening Brief Exhibits - P. 27
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 12 of 48 Page ID #:251




                         EXHIBIT 3




                                                 Pet. Opening Brief Exhibits - P. 28
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 13 of 48 Page ID #:252




                     TPFTZ INTERNATIONAL TRADE SERVICE CO.,LTD.


                                                                    PACKING LIST

                                                                    NO.: TBTC-E-0013

                                                                   HS: 1210610002
                                                                   Date: 2014/3/5

         Bill To:                                       Ship To:
         TIANCHENG INTERNATIONAL INC.U.S.A.             TIANCHENG INTERNATIONAL INC.U.S.A.
         2851 E.PHILADELPHIA ST.                        2851 E.PHILADELPHIA ST.
         ONTARIO, CA 91761                              ONTARIO, CA 91761



         ITEM                                          GROSS               NET          TOTAL
          NO.
                         Description   SPECIFICATION
                                                       Q’TY                Q’TY        AMOUNT

           1                                             8544KGS
                     CREATINE            80MESH                           8000KGS
                    MONOHYDRATE

           2                             200MESH          534KGS
                    CREATINE                                              500KGS
                    MONOHYDRATE

                                                         3204KGS
                                                                          3000KGS
           3
                    BETAINE HCL

                    BETAINE NITRATE
                                                         4416KGS          4000KGS
           4




                                          TOTAL          16698KGS       15500KGS



           SIGNED BY




                                                               Pet. Opening Brief Exhibits - P. 29
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 14 of 48 Page ID #:253




                         EXHIBIT 4




                                                 Pet. Opening Brief Exhibits - P. 30
                                   Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 15 of 48 Page ID #:254


                                                                                                                                                     PENA51301110
        TIANJIN PORT FREE TRADE ZONE INTERNATIONAL TRADE                                                                        Bil     ,
        SERVICE CO.,LTD.                                                                                                                          177UTTTTXE1002B
        ADD.:YUAN HANG ROAD NO.38,TIANJIN BINHAI NEW AREA
        COMPREHENSIVE BONDED AREA,TIANJIN AIRPORT ECONOMIC
        ZONE,300308,TIANJIN,CHINA TEL:02258218318
        FAX:022-58218329                                                                                                                                    jTl..0001




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            TIANCHENG INTERNATIONAL INC.U.S.A.
                                                                                 RaDWD iJy 1111! MTO Ille 6oQCla u                  ~
            2851 E.PHILADELPHIA ST.ONTARIO, CA 91761                             I.Ill- o!IID""1'"° !llalJKi. Ill :JII lrmwpll!IJ!d   ...,,, pl           ag,Nd.   .ll<lf1QO "' JIMll'llllm
            TEL:909 947 5577
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                         EXHIBIT 5




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                         EXHIBIT 6




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 19 of 48 Page ID #:258




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                                                           (2015) China MZJ Letter No. 024065


       Notice of Holding a Court for the No. G20150399 Case of Dispute
                              on Sales Contract
       Applicant          Tianjin Port Bonded Area International Trade Service Co., Ltd.
       Arbitration Agent               Xu Yanzhao, Li Jinxiao


       Respondent               TIANCHENG CHEMPHARM INC.U.S.A.:


       Regarding to the arbitration case in the title between the applicant Tianjin Port •~.
       Bonded Area International Trade Service Co., Ltd. and the respondent, T/Ot/f
·•.    TIA~CHENG CHEMPHARM INC. ~.S.A.,_ the arbitration court of this commissionlt- .t: ~                                       ·•.

       decides to hold a court for heanng this case at 1:30 pm of August 26 th, 20ts:- 1/.J           ~
       (Wednesday) in court room of China International Economic and Trade                              ~            1f/Rilt J
       Arbitration Commission on Floor 5, CCOIC Mansion, No.2, Huapichang Hu tong, fH-A! s:i
       Xicheng District, Beijing.       •     .                                              -£j!. ,:.,__~
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       If the two parties have any. ·supplementary opm10ns, defense opm1ons,
       adminicmlarevidences and /or materials, please submit them in written form in
       triplicate before July 31st, 2015.
       Please assign representative or authorized agent to appear in court at the
       specified time. And notify this commission about names and status of the
       persons appearing on the court in advance.
       Please take along with the originals of relevant evidences at that time for
       cross-examination in court.
       This is hereby notified.




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       cc: sole arbitrator Tao Jie




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 21 of 48 Page ID #:260




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 22 of 48 Page ID #:261




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 23 of 48 Page ID #:262




                         EXHIBIT 7




                                                 Pet. Opening Brief Exhibits - P. 39
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 24 of 48 Page ID #:263

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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 25 of 48 Page ID #:264




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 26 of 48 Page ID #:265


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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 27 of 48 Page ID #:266




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 28 of 48 Page ID #:267




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 29 of 48 Page ID #:268



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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 30 of 48 Page ID #:269




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 31 of 48 Page ID #:270


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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 32 of 48 Page ID #:271




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 33 of 48 Page ID #:272




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 34 of 48 Page ID #:273




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 35 of 48 Page ID #:274




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 36 of 48 Page ID #:275




                                   Arbitral Award




               China International Economic and Trade Arbitration Commission




                                                            Pet. Opening Brief Exhibits - P. 52
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 37 of 48 Page ID #:276




                China International Economic and Trade Arbitration Commission
                                        Arbitral Award




       Applicant:Tianjin Port Free Trade Zone International Trade Service Co., Ltd.
       Address: 3 g Yuanliang Road, Comprehensive Bonded Area, Tianjin Airport Economic Area,
        .(l:;{iltiji11, China
      ,]ir~jtration agent: XuYanzhao and Li Jinxiao, Tianjin Winners Law Firm




       Respondent: Tiancheng International Inc. U.S.A.
       Address: 2851 E. Philadelphia St., Ontario, CA, U.S.A.




                                                   Tianjin
                                               October 9, 2015




                                                                          Pet. Opening Brief Exhibits - P. 53
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 38 of 48 Page ID #:277




      "rfbaccordance with the arbitration clause of the Sales
       Contract") signed by Tianjin Port Free Trade Zone mn~mat1c:m~t1)rr~,(;l¢,$¢ryice
       Applicant ") and Tiancheng International Inc. U.S.A. ("the Kespc11;1q,ent."J c'P.;o.r+=
              §..f~i~tten application for arbitration submitted by the Applicant
            · · · · iial Economic and Trade Arbitration Co~ission ("CIETAC" or "the Arbitration
                  n") accepted this dispute arbitration case ("the. Case") between the Applicant      and
               .indent. The case number is G20150399.


             Arbitration Rules of China International Economic and Trade Arbitration
         ;nmissionimplemented since January .1, 2015 ("the Arbitration Rules") applies to the
      arbitration procedures of the Case. As the amount in dispute is not more than RMB 5 million,
      (Ghapter IV "Summary Procedure" of the Arbitration Rules applies to the Case in accordance
      with Article 56 of the Arbitration Rules; other chapters of the Arbitration Rules apply to the
      matters not regulated by Chapter IV.


       On May 13, 2015, the arbitration court ofCIETAC ("the Arbitration Court") sent an arbitration
       notice, a copy of the Arbitration Rules and a list of arbitrators to the Applicant and the
       Respondent separatelyvia express mail service, and sent additionally to the Respondent the
       arbitration application and the attached evidence submitted by the Applicant. It was verified that
       the aforesaid notice .and materials sent to the Respondent were duly served on May 18, 2015.


       As it has been agreed in the Contract that the place of arbitration shall be Tianjin, China, the
       court session should have been held in Tianjin. On June 17, 2015, the ArbitrationCourtsent a
       notice of fee payment to the Applicant andthe Respondent separatelyvia express mail service,
       requiring the two parties to pay relevant expenses for the session to be opened in Tianjin. It was
       verified that the aforesaid notice sent to the Respondent was duly served on June 22, 2015.
       However, as neither party paid the expenses specified in the notice, the court session, in
       accordance with Article 82 of the Arbitration Rules, would be held in Beijing where the
       Arbitration Commission is located.


       As the Applicant and the Respondent failed to jointly elect or jointly entrust the chainnan of the
       Arbitration Commission to appoint a sole arbitrator within the specified period, the chairman of
       the Arbitration Commission appointed Mr. Tao Jie as the sole arbitrator for the Case according to
       the Arbitration Rules. After signing a Letter of Declaration, Mr. Tao Jie organized an
      . arbitraltribunal("the Arbitral Tribunal") on July 14, 2015 for the Case.


       The Arbitral Tribunaldecided to open a session for the Case on August 26, 2015 in Beijing. The
       Arbitration Court sent a notice of arbitral tribunal organization,theattached documents and a
       notice ofarbitration to the Applicant and the Respondent separatelyvia express mail service on
       July 14, 2015. It was verified that aforesaid notices sent to the Respondent were duly served on

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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 39 of 48 Page ID #:278




                   ,I\:igust 26, 2015, the Arbitral Tribun~l·li                           <;<:' ~cheduled in Beijing.
                                                                                               1


                      bitration agent appointed by the Applicant                                   alf:,:of the Applicant,
                  le the Respondent, in spite of due notification, neitliei'                       oi- stated any reason.
                ''A'ccording to Article 39 of the Arbitration Rules, the Aioi                      ~rgo~eded with the
                  arbitration by default for the Case. During the trial, the Applicant ~tatedfit$ claj;s and supporting .
             · · ,.,.,, · ,. -reasons, presented relevant evidence, explained relevant i~~ii~J}~d answered the
                           ftheArbitral Tribunal.


                         .·,trial, the Applicant submitted additional explanations for relevant facts, supplemental
                        ' , and an interest calculation form. The Arbitration Court sent to the Respondent the
                    1
                      'als submitted by the Applicant after the trial via express mail service on September 1, 2015,
                   . informed the Respondent that any objection of the Respondent on the procedural or
                   ·tantive issues of the Case, any evidence of the Respondent or any application for additional
                   ion should be submitted to the Arbitration Commission in written form within specified
                 riod. The Arbitral Tribunal would. proceed with the following arbitration proceduresin case of
             \delay in submission. It was verified that the aforesaid notice sent to the Respondent was duly
              served
                ."-...
                       on September 4, 2015 .


                   Respondent submitted no written objection or material within the specified period.

                  ,arbitration documents in r~lation to the Case have been duly served to the Applicant and the.
                   pondent according to Article 8 of the Arbitration Rules.


                  ·1 of the Case has been completed, and the Arbitral Tribunal hereby delivered the arbitral
                   ·d by default based on the trial and related evidence.


                    details of the Case, the opinions of the Arbitral Tribunal and the arbitral award are
                   . ctively stated as follows:
                                                                                                                               f
                                                       I. Details of the Case

               It~iistated in the Arbitration Application submitted by the Applicant that:
                                                                                                                               I
               Oh March 5,     2014, the Applicant and the Respondent signed a Sales Contract numbered
               14T!3TC-E-0013 (namely the Contract). According to the Contract, the Respondent shall
               purchase from the Applicant 8,500kgCreatine Monohydrate, 3,000kg Betaine HCL and 4,000kg
               Betaine Nitrate with a total price of USD 547,000.00 subject to a payment term of "TIT 90
                                                                                                                             I: I
                                                                                                                             •• f

               days".                                                                                                        >f

   ·1~        After signing the Contract, the Applicant purchased the goods based on the requirements of the
              Respondent, delivered the goods within the period specified in the Contract, and had the goods
    ':."'"

              insured by insurance company. The Respondent proposed no objection against the quality of the

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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 40 of 48 Page ID #:279




                ~e Applicant reminded the Respondertd .                              e.person-in-charge of the
               ·ndent avoided meeting ·the represeiltati;es \                     ,:and refused to fulfill the
     'i\payment obligation under the Contract, which constitll~S~} ...            tbreach of contract. Up to
        March 1, 2015, the Respondent still had not paid the price'ci .           osDSD 547,000.00 to the
       Applicant.

                ··. ulated in the Contract Law of the People '.s Republic of China that both parties to a duly
                ~d and valid contract shall strictly abide by such contract, and in the event of ~y breach of
               . t by either party, the.non-breaching party may protect its benefitsaccording to the law. In
                rrent Case, the Applicant actively performed its contractual obligations by delivering the
               s to the Respondent, while the Respondent failed to make payment as agreed. The
           1
               ondent's failure to pay has caused huge loss to the Applicant, and the Applicant had to file
          arbitration application to the Arbitration Commission. In addition, the attorney fee and the
          itration fee and expenses paid by the Applicant in relation to the Case shall be reimbursed by



         · erefore, the Applicant made the following claims in the Case:


         The Respondent shall pay the Applicant the price of goods amounting to USD 547,000.00.


          • he Respondent shall compensate the Applicant for the interest loss suffered by the Applicant
          . to the delayed payment up to March 1, 2015, which amounts to USD 23,684.35 (calculated
               the loan interest rate stipulated by the People's Bank of China for the corresponding period).


               e Respondent shall compensate the Applicant for the interest loss suffered by the Applicant
           to the delayed payment from March 1, 2015 to the date of actual payment (calculated with
               an interest rate stipulatedby the People's Bank of China for the corresponding period).


               e Respondent shall compensate the Applicant for the attorney fee paid by the Applicant in
            'on to the Case, which amounts to RMB 75,000.00.


               e Respondent shall bear the arbitration fee and expenses incurred by the Case.


         · ... ;Respondent made no reply and submitted no evidentiary material.


                                       II. Opinions of the Arbitral Tribunal

       (I) Governing law of the Contract


       The Arbitral Tribunal noticesthat there is no clause on governing law in the Contract. According
       to Article 126 of the Contract Law of the People '.s Republic of China and Article 41 of the Law of
       the People '.s Republic of China on Applicable Law for Foreign-related Civil Relationships, the

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                                                                             Pet. Opening Brief Exhibits - P. 56
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 41 of 48 Page ID #:280




                      ·the trial, the Arbitral Tribunal recognizes the following fundamental facts:


                  arch 5, 2014, the Applicant and the Respondent signed the Contract, based on which the
              ·;ant sold the agreed goodsto the Respondent, includin!s Creatine Monohydrate, Betaine
          .i, and Betaine Nitrate with the total price ofUSD 547,000.00. The delivery term was "FOB
      Tianjin" with the date of shipment on March 10, 2014.The port of shipment was Tianjin New
      fl?ort in China, and the port of arrival was Long Beach in U.S.A., the payment term was"T/T 90
      "days".

       &,) On the same day_ (March 5, 2014), the Applicant issued a commercial invoice and a packing
      111±. On March 10, 2014, China Ocean Shipping Agency Co., Ltd. issued an on-board bill of
       /\:':,
      lliaing to the Applicant. The Applicant carried out customs clearance procedures for goods export
      lljthe Customs of Tianjin New Port.

       "~\pn March 13, 2014, theApplicant sent the original bill of lading to the Respondent via DHL
                 ss mail service.

                 ;he Respondent has not paid the contractual price of goods amounting to USD 547,000.00 to
                 pplicant so far.

       (i;:It'   Brea.ch of contract and liabilities


       1itoticed by the Arbitral Tribunal, it is stipulated in Article 60, Article 107, Article 109 and
       Aftl.cle 159 of the Contract Law of the People :S- Republic of China that parties to a contract shall
       comprehensively perform their obligations under the contract; where a party fails to perform its
       obligations under the contract, or its performance of obligations does not conform to the
       agreement, such party shall b~ar liabilities for breach of contract byspecific performance, cure of
       non-conforming perfonnance or payment of damages; where a party fails to pay contractual
       price or remuneration, the other party may claim such price or remuneration; the purchasing
       Party shall pay the contractual price of goods as agreed.


      From the aforesaid facts recognized by the Arbitral Tribunal, the Applicant performed the
      obligation of goods delivery under the Contract, and the Respondent should pay the price of
      goods as agreed. The failure of the Respondent to pay the price of goods has constitutedbreach of

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                                                                                 Pet. Opening Brief Exhibits - P. 57
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 42 of 48 Page ID #:281




          On the claims of the Applicant


          ioe•of goods and interests. As stated above,
               amounting to USD 547,000.00. With respect
                 n method used by the Applicant islegitimate and r&·
               ·· 1Tribunal.


             rney fee. According to Article 52 of the Arbitration Rules, the
             er to determine in the arbitral award, with regard to the circumstances of the case, which
         ... osing party shall compensate the winning party for the expenses reasonably incurred by the
        se.As the Arbitral Tribunal supports the aforesaid claims of the Applicant, and the Applicant
       as provided invoice and payment voucher for the attorney fee amounting to RMB 22,500, the
       espondent shall reimburse the Applicant for the attorney fee paid by the Applicant      in relation
        the Case, which amounts to RMB 22,500.


        Arbitration fee and expenses. According to Article 52 of the Arbitration Rules, the arbitral
         unal has the power to determine in the arbitral award the arbitration fees and other expenses
          e paid by the parties to CIETAC. As the Arbitral Tribunal supports all the aforesaid claims of
        · Applicant, all the arbitration fee and expenses for the Case shall be borne by the losing party,
          ely the Respondent.

                                                 III. Award


         ed on the above analysis and opinions, the Arbitral Tribunal makes the following award:


          he Respondent shall pay the Applicant the price of goods amounting to USD 547,000.00.


         The Respondent shall pay the Applicant theaccrued interest oftheaforesaid price of goods of
           547,000.00 up to March 1, 2015, which shall be USD 23,684.35.


          The Respondent shall pay the Applicant the accrued interest of the aforesaid price of goods
          SD 547,000.00 from March 1, 2015 to the date of actual payment (calculated with the loan
          stipulated by the People's Bank of Chinafor the corresponding period).


           The Respondent shall pay RMB 22,500.00 to the Applicant to compensate the Applicant for
      the attorney fee spent by the Applicant in relation to the Case.


      (V) The Respondent shall bear thetotal arbitration fee for the Case, which amounts to RMB
       125,331.00. As such arbitration fee has been offsetbythe arbitration fee of equal amount paid by
      the Applicant in advance to the Arbitration Commission; the Respondent shall therefore pay

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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 43 of 48 Page ID #:282




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      i'};'.The Respondent shan •·          Applicant within 20 days after the
          · 'Arbitral Awardis made.


         )JfheArbitral Award is final




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                                                   Pet. Opening Brief Exhibits - P. 59
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 44 of 48 Page ID #:283




                                             October 9, 2015   Tianjin


                                                 China International
                                                Economic and Trade
                                               Arbitration Commission

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                                                   Pet. Opening Brief Exhibits - P. 60
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 45 of 48 Page ID #:284




                                NOTARlAL CERTIFICATE



                                                     (2017) JinXiQingGongJingZi No.35



          Applicant: TPFTZ INTERNATIONAL TRADE SERVICE Co., Ltd., domicile:
      No.38, Yuanhang Road, Comprehensive Bonded Area, Tianjin Airport Economic

      Area, Tianjin.
          Legal representative: Jiang Lei, female, born on April 18, 1975, ID Card,No.:

      12010719750418304X.
        . Agent: Yuan Haochen, male, born on July 5, 1992, ID Card No.:
      120103199207056419.
          Issue under notarization: Duplicated Copy in Conformity with the Original

      Copy
          This is to certify that the above-mentioned duplicated copy is in conformity
      with the original copy of "Arbitral Award" which Yuan Haochen showed to the
      Notary.




                                           Notary: Shen Yi

                                           XiQing Notary Public Office of
                                           Tianjin

                                           The People's Republic of China

                                           May 10, 2017


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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 46 of 48 Page ID #:285




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Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 47 of 48 Page ID #:286
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                                NOTARIAL CERTIFICATE

                                        (Translation)


                                                   (2017)JinXiQingGongJingZi No.36


          Applicant: TPFTZ INTERNATIONAL TRADE SERVICE ·. Co., Ltd.,
      domicile: No.38, Yuanhang Road, Comprehensive Bonded Area, Tianjin Airport
      Economic Area, Tianjin.
          Legal representative: Jiang Lei, female, born on April 18, 1975, ID Card No.:
      12010719750418304X.
          Agent: Yuan Haochen, male, born on July 5, 1992, ID Card No.:
      120103199207056419.
          Issue under notarization:Translated Contents in Conformity with Those of
      Original Copy
          This is to certify that the contents of the aforementioned translated English
      text of ''Notarial Certificate" No.: (2017)JinXiQingGongJingZi No.35 are m
      conformity with those of the Chinese original copy.




                                            Notary: Shen Yi
                                            XiQing Notary Public Office of
                                            Tianjin
                                            The People's Republic of China
 I V00475032                                May 10, 2017




                                                               Pet. Opening Brief Exhibits - P. 63
Case 5:17-cv-02127-PA-SHK Document 26-1 Filed 07/23/18 Page 48 of 48 Page ID #:287




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            People's Republic of China)
            Municipality of Beijing   )
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            I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , ConsulNice Consul of the United
             States of America in Beijing, the People's Re ublic of China, duly commissioned and qualified,
             do hereby certify that -~~';,JCJ'.t--,,t.~~u.u'.Uf--, whose true signature and official
             seal are, respectively, subscri                        the foregoing document, was on the
                 t;2.l7< day of _ _ ___,,.=~-----, 201~                       .anofficerofthe
            Ministry of Foreign Affairs of the People's Republic of China, duly commissioned
            and qualified, to whose official acts faith and credit are due.


            IN WITNESS WHEREO.FI have hereunto set my hand and affixed the seal of the
            ~~~~s~1r o{~he United States, of Al:l},erica in Beijing, the People's Republic of China this·.
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